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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )            4:03CR3014-1
                                               )
                    Plaintiff,                 )            MEMORANDUM
      vs.                                      )            AND ORDER
                                               )
HA T. T. NGUYEN,                               )
                                               )
                    Defendant.                 )



      This matter is before the court on the defendant’s notice of appeal (filing 313)
and on the clerk’s recent inquiry (filing 314) regarding such filing. The notice of
appeal was filed with reference to the court’s judgment of May 5, 2005 (filing 312),
which denied the defendant’s motion to vacate, set aside, or correct her sentence
pursuant to 28 U.S.C. § 2255.

       Before the defendant’s appeal can proceed, a certificate of appealability must
issue. See Fed. R. App. P. 22(b). A certificate of appealability may issue “only if the
applicant has made a substantial showing of the denial of a constitutional right.” 28
U.S.C. § 2253(c)(2). When a district court has rejected a constitutional claim on the
merits in the course of denying a § 2255 motion, “[t]he petitioner must demonstrate
that reasonable jurists would find the district court’s assessment of the constitutional
claims debatable or wrong” in order to meet the standard contained in § 2253(c).
Slack v. McDaniel, 529 U.S. 473, 484 (2000). In contrast, when a district court
denies a § 2255 motion on procedural grounds without reaching the applicant’s
underlying constitutional claims on the merits, a certificate of appealability should
issue under § 2253(c) when “the prisoner shows, at least, that jurists of reason would
find it debatable whether the petition states a valid claim of the denial of a
constitutional right and that jurists of reason would find it debatable whether the
district court was correct in its procedural ruling.” Id.
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       For the reasons set forth in the court’s memorandum and order on initial review
(filing 311), the court concludes that the defendant has not made a substantial
showing of the denial of a constitutional right as required by 28 U.S.C. § 2253(c).
Even though a certificate of appealability shall not issue, the appeal does appear to
be taken in good faith, such that the defendant may continue to proceed in forma
pauperis pursuant to Fed. R. App. P. 24(a)(3).

      Accordingly,

      IT IS ORDERED:

      1.     That a certificate of appealability shall not issue in this case;

      2.     That, in response to the clerk’s inquiry, the defendant may proceed in
             forma pauperis on appeal; and

      3.     The clerk of the court shall transmit a copy of this memorandum and
             order to the United States Court of Appeals for the Eighth Circuit.


      DATED: May 24, 2005.                      BY THE COURT:

                                                s/ Richard G. Kopf
                                                United States District Judge




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